               Case MDL No. 2930 Document 1-4 Filed 12/20/19 Page 1 of 3




                           BEFORE THE UNITED STATES JUDICIAL
                           PANEL ON MULTIDISTRICT LITIGATION



    In re Entresto (Sacubitril/Valsartan) Patent           MDL No. ____________________
    Litigation



                                     SCHEDULE OF ACTIONS 1

                  Case Captions                        Court     Civil Action No.       Judge

    Plaintiff:                                      D. Del.       1:19-cv-01979        Stark, J.
    • Novartis Pharmaceuticals Corporation

    Defendants:
    • Alkem Laboratories Ltd.
    • Aurobindo Pharma USA Inc.
    • Aurobindo Pharma Ltd.
    • Biocon Pharma Limited
    • Biocon Limited
    • Biocon Pharma, Inc.
    • Crystal Pharmaceutical (Suzhou) Co.,
       Ltd.
    • Laurus Labs Limited
    • Laurus Generics Inc.
    • Lupin Atlantis Holdings, S.A.
    • Lupin Limited
    • Lupin Inc.
    • Lupin Pharmaceuticals, Inc.
    • Nanjing Noratech Pharmaceutical Co.,
       Limited
    • Teva Pharmaceuticals USA, Inc.
    • Torrent Pharma Inc.
    • Torrent Pharmaceuticals Ltd.




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    Copies of the complaint and docket sheet for each action are attached hereto as Exhibits 1-4.
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            Case Captions                    Court    Civil Action No.    Judge

Plaintiff:                                D. Del.      1:19-cv-02021     Stark, J.
• Novartis Pharmaceuticals Corporation

Defendants:
• Alembic Pharmaceuticals Limited
• Alembic Global Holding SA
• Alembic Pharmaceuticals, Inc.
• Macleods Pharmaceuticals Ltd.
• Macleods Pharma USA, Inc.
• Natco Pharma Limited
• Natco Pharma, Inc.

Plaintiff:                                D. Del.      1:19-cv-02053     Stark, J.
• Novartis Pharmaceuticals Corporation

Defendants:
• Dr. Reddy’s Laboratories, Inc.
• Dr. Reddy’s Laboratories, Ltd.
• Hetero USA Inc.
• Hetero Labs Limited
• Hetero Labs Limited Unit III
• MSN Pharmaceuticals Inc.
• MSN Laboratories Private Limited
• MSN Life Sciences Private Limited
• Mylan Pharmaceuticals Inc.
• Mylan Inc.
• Mylan Laboratories Limited
• Novugen Pharma (Malaysia) Sdn.
   Bhd.
• Zydus Pharmaceuticals (USA) Inc.
• Cadila Healthcare Ltd.

Plaintiff:                               N.D. W.Va.    1:19-cv-00201     Keeley, J.
• Novartis Pharmaceuticals Corporation

Defendants:
• Mylan Pharmaceuticals Inc.
• Mylan Inc.
• Mylan Laboratories Limited




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Dated: December 20, 2019                  Respectfully submitted,

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